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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

    GEORGIA STATE CONFERENCE
    OF THE NAACP, et al.,

                   Plaintiffs,

          v.                                          CIVIL ACTION NO.
                                                      1:21-cv-01259-JPB
    BRAD RAFFENSPERGER, in his
    official capacity as the Secretary of
    State for the State of Georgia, et al.,

                   Defendants.

                                              ORDER

         Before the Court are the following motions:

               1. Defendants Brad Raffensperger, Rebecca Sullivan, Sara Tindall
                  Ghazal, Matthew Mashburn and Anh Le’s (collectively “State
                  Defendants”) Motion to Dismiss Plaintiffs’ First Amended Complaint
                  (ECF No. 42);

               2. Defendants the county boards of election and registration for Fulton,
                  Gwinnett and Cobb Counties’ (collectively “County Defendants”)
                  Motion to Dismiss Plaintiffs’ First Amended Complaint (ECF No.
                  52); and

               3. Defendants Republican National Committee, National Republican
                  Senatorial Committee, National Republican Congressional Committee
                  and Georgia Republican Party, Inc.’s (collectively “Intervenor
                  Defendants”) Motion to Dismiss (ECF No. 53). 1


1
  State Defendants, County Defendants and Intervenor Defendants are collectively
referred to as “Defendants.”
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Having fully considered the papers filed therewith, the Court finds as follows:

        I.    BACKGROUND

        Plaintiffs Georgia State Conference of the NAACP, Georgia Coalition for

the People’s Agenda, Inc., League of Women Voters of Georgia, Inc., GALEO

Latino Community Development Fund, Inc., Common Cause, Lower Muskogee

Creek Tribe and Urban League of Greater Atlanta, Inc. (collectively “Plaintiffs”)

filed this action seeking a declaration that certain provisions of Georgia Senate Bill

202 (“SB 202”) violate the United States Constitution, the Voting Rights Act

and/or the Civil Rights Act. 2

        Governor Brian Kemp signed SB 202 into law on March 25, 2021, and the

challenged provisions regulate election-related processes and activities ranging

from absentee ballot voting to out-of-precinct in-person voting. Plaintiffs oppose

the specified regulations on the following grounds: discrimination, undue burden

on the right to vote, immaterial voting requirement and abridgement of free speech,

expression and association.

        II.   DISCUSSION

        County Defendants move to dismiss the Amended Complaint solely on

standing grounds; Intervenor Defendants challenge Plaintiffs’ claims on the merits


2
    Plaintiffs amended their Complaint on May 28, 2021.

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only; and State Defendants seek dismissal both on standing grounds and on the

merits. The Court will address the standing question first. See Cuban Am. Bar

Ass’n v. Christopher, 43 F.3d 1412, 1422 (11th Cir. 1995) (stating that the Court is

obligated “‘to ensure it is presented with the kind of concrete controversy upon

which its constitutional grant of authority is based’” (quoting Hallandale

Professional Fire Fighters Local 2238 v. City of Hallandale, 922 F.2d 756, 759

(11th Cir. 1991))).

             A.       Standing 3

      To satisfy standing requirements under Article III of the United States

Constitution, a plaintiff must show:

      (1) it has suffered an “injury in fact” that is (a) concrete and
      particularized and (b) actual or imminent, not conjectural or
      hypothetical; (2) the injury is fairly traceable to the challenged action



3
  Standing is jurisdictional, see Cone Corp. v. Fla. Dep’t of Transp., 921 F.2d
1190, 1203 n.42 (11th Cir. 1991), and a motion to dismiss for lack of standing can
rest on either a facial or factual challenge to the complaint, see Stalley ex rel. U.S.
v. Orlando Reg’l Healthcare Sys., Inc., 524 F.3d 1229, 1232 (11th Cir. 2008). In
evaluating a facial challenge, a court considers only the allegations in the
complaint and accepts them as true, whereas in a factual challenge, a court
considers matters outside the pleadings, such as testimony and affidavits. See
Morrison v. Amway Corp., 323 F.3d 920, 924 n.5 (11th Cir. 2003). Here, the
parties do not reference matters outside the Complaint with respect to their
standing arguments. Therefore, the Court will evaluate State Defendants’ standing
argument as a facial challenge and will limit its analysis to facts alleged in the
Complaint.

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      of the defendant; and (3) it is likely, as opposed to merely speculative,
      that the injury will be redressed by a favorable decision.

Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 180-

81 (2000) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)). These

requirements ensure federal courts adjudicate only actual “cases” and

“controversies.” 4 A&M Gerber Chiropractic LLC v. GEICO Gen. Ins. Co., 925

F.3d 1205, 1210 (11th Cir. 2019).

                    1.     Injury

      “‘[A]n organization has standing to sue on its own behalf if the defendant’s

illegal acts impair [the organization’s] ability to engage in its projects by forcing

[it] to divert resources to counteract those illegal acts.’” Common Cause/Georgia

v. Billups, 554 F.3d 1340, 1350 (11th Cir. 2009) (quoting Fla. State Conf. of

NAACP v. Browning, 522 F.3d 1153, 1165 (11th Cir. 2008)). In Common



4
  “Where only injunctive relief is sought, only one plaintiff with standing is
required.” Gwinnett Cnty. NAACP v. Gwinnett Cnty. Bd. of Registration &
Elections, 446 F. Supp. 3d 1111, 1118 (N.D. Ga. 2020) (quoting Martin v. Kemp,
341 F. Supp. 3d 1326, 1333 (N.D. Ga. 2018)); see also, e.g., Watt v. Energy Action
Educ. Found., 454 U.S. 151, 160 (1981) (finding that it was not necessary to
consider the standing of other plaintiffs where standing was established as to one
plaintiff); Glassroth v. Moore, 335 F.3d 1282, 1293 (11th Cir. 2003) (“Having
concluded that those two plaintiffs have standing, we are not required to decide
whether the other plaintiff, the one who has not altered his behavior . . . , has
standing.”). Therefore, the Court’s analysis will focus on one plaintiff for the
purpose of deciding the instant motions to dismiss.

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Cause/Georgia, the Eleventh Circuit Court of Appeals found that the plaintiff had

established an injury sufficient to challenge a Georgia voting statute because the

plaintiff planned to divert resources from its regular voter registration, mobilization

and education activities to a campaign to educate and assist voters in complying

with the new voter photo identification requirement under the challenged statute.

See id. The court reasoned that this diversion constituted an adequate injury

because it would cause the organization’s noneconomic goals to suffer. See id. at

1350-51. Courts have found that a sufficient injury is demonstrated for standing

purposes even when the diversion of resources is only “reasonably anticipate[d].”

E.g., Ga. Latino All. for Hum. Rts. v. Governor of Ga., 691 F.3d 1250, 1260 (11th

Cir. 2012) (alteration in original) (internal punctuation and citation omitted).

      Here, the Amended Complaint alleges that SB 202 will cause each plaintiff

to divert resources away from its core activities to initiatives that will inform voters

of and help them navigate SB 202’s changes to the election process. For example,

Plaintiff League of Women Voters of Georgia, Inc. (“League”) asserts that it

typically “work[s] for good government by studying issues, advocating for

reforms, and, through the League’s Observer Corps, observing and reporting on the

work of all levels of government.” Am. Compl. ¶ 42, ECF No. 35. “Many League

members also assist with [get-out-the-vote] efforts, poll watching, and serving as


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vote review panelists.” Id. The League contends that SB 202 will cause it to

divert “resources toward educating voters about [SB 202’s] requirements” and

“away from its regular advocacy, voter registration, fundraising, and other

activities, [thereby] affecting its ability to operate and function with respect to its

normal activities.” Id. ¶ 46.

      Based on these allegations, which mirror those asserted by the organization

plaintiff in Common Cause/Georgia, the Court finds that the League has alleged a

diversion of resources that is sufficient to show an injury for standing purposes. 5

See Common Cause/Georgia, 554 F.3d at 1350.

      The Court is not persuaded by State and County Defendants’ argument that

Plaintiffs lack standing because their alleged diversion of resources is not

“different in nature” from their current work and instead constitutes baseline work

they are already doing. State Defs.’ Br. 5, ECF No. 41-1. In Common

Cause/Georgia, the court noted that one of the plaintiffs was “actively involved in

voting activities” and planned to divert resources “to educate and assist voters” in

complying with the challenged voting identification requirements. 554 F.3d at

1350. In finding that standing was established there, the court focused on the


5 Notwithstanding this decision, Plaintiffs will be expected to prove at trial that
they have indeed suffered an injury to be entitled to relief. See Havens Realty
Corp. v. Coleman, 455 U.S. 363, 379 n.21 (1982).

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diversion of resources—the shifting of resources from one activity to another—as

the essence of the inquiry and did not mention, much less impose, the

counterintuitive requirement that the new activities must further a different purpose

within the organization. Id. And, as stated above, a reasonably anticipated

diversion of resources suffices.

      Even the court in Common Cause Indiana v. Lawson, which State and

County Defendants cite in support of their position, had a “hard time imagining”

why “an organization would undertake any additional work if that work had

nothing to do with its mission.” 937 F.3d 944, 955 (7th Cir. 2019). In the end, the

Common Cause Indiana court concluded that the voting advocacy organizations

had established an injury for standing purposes by showing that they planned to

expand voter education programs, among other things, to counter the effects of the

challenged statute. 6 Id.

      Additionally, State and County Defendants’ reliance on Clapper v. Amnesty

International USA, 568 U.S. 398 (2013), is misplaced. The Supreme Court of the

United States in Clapper found that the plaintiffs lacked standing because the



6
 The only other case State and County Defendants cite in support of their
argument—Georgia Ass’n of Latino Elected Officials, Inc. v. Gwinnett County
Board of Registration and Elections, 499 F. Supp. 3d 1231, 1240 (N.D. Ga.
2020)—is on appeal to the Eleventh Circuit.

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future injury they identified was not certainly impending where they did not have

knowledge of the government’s enforcement practices relating to the statute, and

they could not provide a credible basis for their fear of prosecution under the

statute. Id. at 411. Unlike in Clapper, the key standing question in this case is

whether the organization plaintiffs have demonstrated that SB 202 will cause them

to divert resources away from their normal activities, not whether they face

potential prosecution under SB 202.

      The opinion in Tsao v. Captiva MVP Restaurant Partners, LLC, 986 F.3d

1332 (11th Cir. 2021), which State Defendants cite as an additional reason to find

that Plaintiffs lack standing in this case, similarly does not require a different

result. Tsao involved an “insubstantial,” “non-imminent” and general threat of

identity theft to an individual as a result of a data breach. Id. at 1345. That type of

case is thus quite different from the instant pre-enforcement challenge to SB 202.

      In any event, it is well settled that “an actual arrest, prosecution, or other

enforcement action is not a prerequisite to challenging [a] law.” Wollschlaeger v.

Governor of Fla., 848 F.3d 1293, 1304 (11th Cir. 2017) (internal punctuation

omitted) (quoting Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)).

To the contrary, “‘the very purpose of the Declaratory Judgment Act’” is to

address the “[t]he dilemma posed by . . . putting the challenger to the choice


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between abandoning his rights or risking prosecution.” MedImmune, Inc. v.

Genentech, Inc., 549 U.S. 118, 129 (2007) (quoting Abbott Lab’ys v. Gardner, 387

U.S. 136, 152 (1967)). Therefore, courts allow a plaintiff to bring a pre-

enforcement suit “when he has alleged an intention to engage in a course of

conduct arguably affected with a constitutional interest, but proscribed by a statute,

and there exists a credible threat of prosecution.” Wollschlaeger, 848 F.3d at 1304

(internal punctuation omitted) (quoting Driehaus, 573 U.S. at 159). This type of

injury is not considered too remote or speculative to support standing. See id. at

1305.

                     2.     Traceability and Redressability

        It is well-settled that “[t]o satisfy the causation requirement of standing, a

plaintiff’s injury must be ‘fairly traceable to the challenged action of the defendant,

and not the result of the independent action of some third party not before the

court.’” Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1253 (11th Cir. 2020)

(quoting Lujan, 504 U.S. at 560). Further, “it must be the effect of the court’s

judgment on the defendant—not an absent third party—that redresses the

plaintiff’s injury, whether directly or indirectly.” Lewis v. Governor of Ala., 944

F.3d 1287, 1301 (11th Cir. 2019) (internal punctuation omitted) (quoting Digit.

Recognition Network, Inc. v. Hutchinson, 803 F.3d 952, 958 (8th Cir. 2015)).


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Therefore, the court must be satisfied that a decision in the plaintiff’s favor would

“significantly increase the likelihood that [the plaintiff] would obtain relief that

directly redresses the injury that she claims to have suffered.” Id. (internal

punctuation and alteration omitted) (quoting Harrell v. Fla. Bar, 608 F.3d 1241,

1260 n.7 (11th Cir. 2010)).

       In Luckey v. Harris, which involved a complaint against the governor of

Georgia and certain state judges regarding the state’s provision of legal services to

indigent criminal defendants, the Eleventh Circuit explained that “[a]ll that is

required [for injunctive relief against a state official] is that the official [sued] be

responsible for the challenged action.” 860 F.2d 1012, 1015 (11th Cir. 1988).

Thus, “the state officer sued must, by virtue of his office, have some connection

with the unconstitutional act or conduct complained of. Whether this connection

arises out of general law, or is specially created by the act itself, is not material so

long as it exists.” Id. at 1015-16 (internal punctuation, alteration and citation

omitted). The court therefore concluded that prospective relief could be ordered

against the judges because they were “responsible for administering the system of

representation for the indigent criminally accused.” Id. at 1016.

       Relying on this “binding precedent” from Luckey, the Eleventh Circuit, in

Georgia Latino Alliance, rejected the state officials’ argument that the plaintiffs


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did not have standing to sue because the state officials lacked enforcement

authority over the challenged statute. 691 F.3d at 1260 n.5. The court emphasized

that it was “easily satisfied” that the plaintiffs met the traceability and

redressability requirements to bring a pre-enforcement challenge against the

officials, where “[e]ach injury [was] directly traceable to the passage of [the

challenged statute] and would be redressed by enjoining each provision” of the

statute. Id. at 1260.

      Following this reasoning, the Court finds that the traceability and

redressability requirements are satisfied in this case. The injuries Plaintiffs allege

are directly traceable to SB 202, for which both State and County Defendants have

enforcement responsibility. Although State Defendants argue that certain

provisions of SB 202 are handled at the county level, that does not necessarily

mean that they lack enforcement authority with respect to those provisions.

      County Defendants’ argument that SB 202’s provisions are not traceable to

them and cannot be redressed by entering an injunction against them is similarly

without merit. Notably, they do not dispute Plaintiffs’ assertion that county

officials are directly responsible for enforcing numerous election administration

provisions of SB 202—from the new absentee ballot application and voting

requirements to voter registration challenges.


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      Further, County Defendants have not cited any authority that supports their

argument that Plaintiffs cannot establish redressability without bringing suit

against all Georgia counties. Bush v. Gore, 531 U.S. 98 (2000), which County

Defendants cite, is inapposite because that opinion did not analyze standing.

Rather, the Supreme Court addressed the manual recount of paper ballots in a

Florida election and the related issue of disparate treatment of voters across the

state under the Equal Protection Clause of the Fourteenth Amendment. Id. at 107.

Those circumstances are easily distinguishable from County Defendants’

redressability argument.

      Regardless, to satisfy redressability requirements for standing purposes,

Plaintiffs need to show only that an injunction against County Defendants would

address at least some of the alleged injuries in this case. See Losch v. Nationstar

Mortg. LLC, 995 F.3d 937, 943 (11th Cir. 2021) (finding that the plaintiff had

standing to sue the defendant even if only “a small part of the [total] injury [was]

attributable to” the defendant). They have fulfilled that requirement.

      Based on the foregoing analysis, the Court finds that the Article III standing

requirements to bring this suit are satisfied by at least the League.




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             B.     Failure to State a Claim

      Having resolved the threshold standing issue, the Court now turns to

Defendants’ arguments that the Amended Complaint fails to state a claim upon

which relief may be granted.

      In evaluating a motion to dismiss under Federal Rule of Civil Procedure

12(b)(6), a court “accept[s] the allegations in the complaint as true and constru[es]

them in the light most favorable to the plaintiff.” 7 Traylor v. P’ship Title Co., 491

F. App’x 988, 989 (11th Cir. 2012). However, “a plaintiff’s obligation to provide

the grounds of his entitlement to relief requires more than labels and conclusions,

and a formulaic recitation of the elements of a cause of action will not do.” Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal punctuation and citation

omitted); see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (stating that a

complaint does not suffice “if it tenders ‘naked assertions’ devoid of ‘further

factual enhancement’” (alteration omitted) (quoting Twombly, 550 U.S. at 557)).




7
 A court is limited to reviewing what is alleged “‘within the four corners of the
complaint.’” Hayes v. U.S. Bank Nat’l Ass’n, 648 F. App’x 883, 887 (11th Cir.
2016) (quoting Bickley v. Caremark RX, Inc., 461 F.3d 1325, 1329 n.7 (11th Cir.
2006)). If the court accepts matters outside the complaint, it “must convert the
motion to dismiss into one for summary judgment.” Prop. Mgmt. & Invs., Inc. v.
Lewis, 752 F.2d 599, 604 (11th Cir. 1985).

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      Moreover, “[f]actual allegations must be enough to raise a right to relief

above the speculative level.” Twombly, 550 U.S. at 555. “This standard does not

require a party to plead facts with such particularity to establish a significant

probability that the facts are true, rather, it requires a party’s pleading of facts to

give rise to a ‘reasonable expectation that discovery will reveal evidence

[supporting the claim].’” Burch v. Remington Arms Co., No. 2:13-cv-00185, 2014

WL 12543887, at *2 (N.D. Ga. May 6, 2014) (alteration in original) (quoting

Twombly, 550 U.S. at 556); see also Twombly, 550 U.S. at 570 (dismissing

complaint because the plaintiffs did not state facts sufficient to “nudge[] their

claims across the line from conceivable to plausible”).

      At bottom, the complaint must contain more than “an unadorned, the-

defendant-unlawfully-harmed-me accusation,” Iqbal, 556 U.S. at 678, and must

“‘plead[] factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged,’” Traylor, 491 F. App’x at 990

(quoting Speaker v. U.S. Dep’t of Health & Hum. Servs., 623 F.3d 1371, 1380

(11th Cir. 2010)).




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      The Court will now address the question of whether Plaintiffs have satisfied

their pleading burden with respect to each count of the Amended Complaint. 8

                    1.    Count I (intentional discrimination under the
                          Fourteenth and Fifteenth Amendments and § 2 of the
                          Voting Rights Act (“VRA”)) 9

      Plaintiffs allege that SB 202 was enacted with “a racially discriminatory

purpose in violation of [§] 2 of the [VRA] and the Fourteenth and Fifteenth


8
  State Defendants address the challenged provisions individually rather than in
connection with the specified counts of the Amended Complaint. This approach,
however, analyzes the challenged provisions out of context and does not account
for Plaintiffs’ contention that the challenged provisions also collectively violate the
law. For the purpose of deciding the instant motions, the Court will evaluate each
count as a whole and determine whether Plaintiffs have stated a claim as to the
specific count.
9
  Complaints seeking to invalidate a voting statute on the grounds that it is
discriminatory typically allege claims under § 2 of the VRA and/or the Fourteenth
and Fifteenth Amendments. See, e.g., Greater Birmingham Ministries v. Sec’y of
State for Ala., 992 F.3d 1299, 1329 (11th Cir. 2021). VRA § 2 claims generally
constitute allegations of vote dilution (e.g., challenges to election districting
schemes) or vote denial (e.g., challenges to time, place or manner restrictions on
voting, such as absentee and in-person voting rules). Either type of claim may be
asserted as a discriminatory purpose/intent claim (i.e., the statute was enacted with
discriminatory intent and has a discriminatory effect) or a discriminatory results
claim (i.e., the statute results in the abridgement of the right to vote under the
circumstances). See Chisom v. Roemer, 501 U.S. 380, 394 n.21 (1991). Claims
brought under the Fourteenth and Fifteenth Amendment require proof of
discriminatory intent and effect (whether in the vote dilution or vote denial
context). See Greater Birmingham, 992 F.3d at 1328-29. Therefore, the analysis
of Fourteenth and Fifteenth Amendment discriminatory intent claims mirrors that
of § 2 intent claims. In this case, Plaintiffs make vote denial allegations, which are
styled as § 2 and Fourteenth and Fifteenth Amendment discriminatory intent
claims (Count I) and a § 2 results claim (Count II).

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Amendments.” 10 Am. Compl. ¶ 177, ECF No. 35. Specifically, Plaintiffs assert

that:

        (i) “SB 202 was enacted at a time when Black voters and other voters of
        color were making increasing use of [the] means of voting that are being
        limited and restricted in SB [202]”;

        (ii) “SB 202 was enacted immediately following elections in which the size
        of the population of Black voters and other voters of color, particularly when
        compared to the diminishing share of the white vote, had become larger in
        statewide elections”;

        (iii) “[i]n passing SB 202, the Georgia legislature deviated from procedural
        norms [and] rush[ed] the bill to passage”; and

        (iv) “[t]he Chair of the House Committee on Public Integrity made culturally
        insensitive statements in connection with the passage of SB 202.”

Id. ¶¶ 181-83, 185.

        Other paragraphs in the Amended Complaint expound on these points. For

example, Plaintiffs also allege that:

        (i) “there was a 25% increase in Black voter registration [for the 2020 and
        2021 elections] compared to 2016”;




10
   Courts generally analyze discriminatory intent or purpose claims under the
framework the Supreme Court established in Village of Arlington Heights v.
Metropolitan Housing Development Corp., 429 U.S. 252, 267-68 (1977).
However, Arlington Heights did not involve a voting statute, so it does not track or
refer to the language of § 2. Discriminatory results claims, on the other hand, are
usually analyzed under the framework the Supreme Court developed in Thornburg
v. Gingles, 478 U.S. 30, 36-37 (1986). Gingles involved a vote dilution claim, and
the relevant analysis incorporates the text of § 2.

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      (ii) “nearly 30% of Black voters cast their ballot by mail, with Black voters
      accounting for almost 32% of absentee ballot requests” compared to “only
      roughly 24% of white voters vot[ing] through the mail”;

      (iii) Chairman Fleming of the House of Representatives Special Committee
      on Election Integrity “publicly likened absentee ballots to the ‘shady part of
      town down near the docks’ where the ‘chance of being shanghaied’ is
      significant”;

      (iv) Chairman Fleming prohibited certain organizations from commenting
      on the bill while it was being considered in the House; and

      (v) draft versions of SB 202 were sometimes taken up in the House without
      first providing a copy of the bill to the public or giving proper notice of the
      agenda.

Id. ¶¶ 111-31. The Amended Complaint ultimately concludes that SB 202 was

“intended to, and will” “disproportionately and adversely affect[] the right to vote

of Black voters and other voters of color.” Id. ¶ 179.

      State Defendants argue that Plaintiffs’ intentional discrimination claim

should be dismissed because the alleged impact of the challenged provisions “is

minimal at best, the history relied on is far distant, the legislation went through

normal channels, the legislature explained exactly what it was doing in the first

pages of the bill[] and none of the statements by the legislature were racially

discriminatory.” State Defs.’ Br. 12-13, ECF No. 42-1 (citations omitted).

      Intervenor Defendants make similar arguments but also contend that the

Court should focus on the legislative findings underlying SB 202, which they

assert are “the only reliable evidence of the legislature’s purposes.” Intervenor

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Defs.’ Br. 15, ECF No. 53-1. In their view, those findings prove that SB 202 was

not enacted with discriminatory intent. They argue that, at worst, the legislature

was driven by the permissible purpose of securing partisan advantage. Id. at 17.

      In Village of Arlington Heights v. Metropolitan Housing Development

Corp., the Supreme Court of the United States identified a non-exhaustive list of

factors that courts can use to evaluate whether government action was undertaken

with discriminatory intent. 11 429 U.S. 252, 267-68 (1977). These include the

“historical background of the decision”; the “specific sequence of events leading

up to the challenged decision”; “[d]epartures from the normal procedural

sequence” in taking the action; “[t]he legislative or administrative history,”

including “contemporary statements by members of the decisionmaking body”;

and whether the “impact of the official action . . . bears more heavily on one race

than another.” Id.

      Because the aforementioned allegations in the Amended Complaint are

consistent with the Arlington Heights factors and otherwise bear on the issue of

intentional discrimination, the Court finds that Plaintiffs have stated a plausible




11
  State and Intervenor Defendants do not dispute that Arlington Heights governs
Plaintiffs’ discriminatory purpose claim.

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discriminatory purpose claim. 12 At the motion to dismiss stage, Plaintiffs are not

required to establish “a significant probability that the facts are true,” Burch, 2014

WL 12543887, at *2, and only have to state facts sufficient to “nudge[] their

claims across the line from conceivable to plausible,” Twombly, 550 U.S. at 570.

They have done so here.

      State and Intervenor Defendants’ arguments, which attack the validity of

Plaintiffs’ allegations, are premature at this stage because they go to the merits of

the claim and not to the question of whether Plaintiffs have asserted a plausible

claim for relief.

       Additionally, contrary to State and Intervenor Defendants’ contentions that

Brnovich v. Democratic National Committee, 141 S. Ct. 2321 (2021), established

certain requirements that Plaintiffs failed to meet here, the Supreme Court in that

case specifically “decline[d] . . . to announce a test to govern all VRA § 2 claims”

involving time, place or manner voting restrictions, id. at 2336. The Supreme

Court explained that Brnovich was its “first foray” into deciding this type of claim

and therefore found it “sufficient for present purposes to identify certain


12
  As noted above, Plaintiffs bring intent claims under § 2 as well as under the
Fourteenth and Fifteenth Amendments. Since all of these claims are analyzed in
the same way, the Court’s conclusion herein—that Plaintiffs have stated a claim
for discriminatory intent—applies to the Fourteenth and Fifteenth Amendment
intent claims as well as the § 2 intent claim.

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guideposts” that led to its decision rather than to mandate a test that must be

satisfied in all circumstances. Id. (emphasis added). Thus, while the language in

Brnovich could portend future requirements to state or prove a § 2 time, place or

manner claim, it should not be interpreted as currently setting forth pleading

requirements that Plaintiffs must fulfill in this case. 13

       Likewise, while the Court acknowledges that the Brnovich opinion discusses

the legislators’ intent in passing the challenged statute, that analysis does not

support State and Intervenor Defendants’ position that Brnovich now requires

plaintiffs in cases such as this one to allege that the legislature as a whole acted

with discriminatory intent. The Supreme Court’s discussion of intent in that case

occurred in the course of its review of whether the district court’s interpretation of

the evidence of discrimination was “permissible” under the clearly erroneous

standard of review. Id. at 2349. The district court found no indication that the

legislature “as a whole” was motivated by race, despite evidence in the record that

a video reflecting a racial appeal played a role in the legislature’s actions. Id. at



13
  Compare Guideline, MERRIAM-WEBSTER.COM, https://www.merriam-
webster.com/dictionary/guideline (last visited Dec. 6, 2021) (“an indication or
outline of policy or conduct”) with Requirement, MERRIAM-WEBSTER.COM,
https://www.merriam-webster.com/dictionary/requirement (last visited Dec. 6,
2021) (“something essential to the existence or occurrence of something else”).
“Guideline” and “Guidepost” are equivalent in the Merriam-Webster dictionary.

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2349-50. The Supreme Court concluded that the district court’s finding was not

clearly erroneous. Id. When viewed in context, this finding does not establish a

new test to state a discrimination claim, especially in light of the Supreme Court’s

express disavowal of doing so.

      For all these reasons, the Court declines to dismiss Count I of the Amended

Complaint. 14

                    2.     Count II (results claim under § 2 of the VRA)

      Plaintiffs allege that the challenged provisions of SB 202 “individually and

collectively” result in the “political process in Georgia . . . not [being] equally open

to participation [by] Black voters and other voters of color.” Am. Compl. ¶ 199,

ECF No. 35. They explain that this disparity is a result of the totality of the

circumstances, including “Georgia’s history of racial discrimination in voting,” id.

¶¶ 80-83, 196, racially polarized voting in Georgia, id. ¶¶ 92-110, and “the effects



14
  Citing Abbott v. Perez, 138 S. Ct. 2305, 2324 (2018), Intervenor Defendants
argue that a presumption of good faith applies to the legislature’s actions, and a
history of voting discrimination cannot condemn all later actions by the state.
Intervenor Defs.’ Reply Br. 12, ECF No. 62. However, Abbott does not address
whether the presumption of good faith applies in vote denial cases. And even if
the presumption applies, it is not a shield that requires automatic dismissal of
discrimination claims at the pleading stage. See Abbott, 138 S. Ct. at 2324-25.
The Court must analyze the Government’s allegations under applicable law and
consider the historical context as “‘one evidentiary source.’” Id. at 2325 (citation
omitted).

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of discrimination in education, employment, and health[, which] hinder [voters of

color’s] ability to participate effectively in the political process,” id. ¶ 197.

      In particular, Plaintiffs assert that “Georgia was the only state [subject to

preclearance under the VRA] that . . . implemented voting restrictions in every

category the [United States] Commission [on Civil Rights] examined”; “Black

voters and other voters of color usually provide strong support to Democratic

candidates”; and Black voters and other voters of color are more likely to live

below the poverty line, lack a vehicle or computer access in their homes and have

jobs that do not allow the flexibility to use certain voting options. Id. ¶¶ 82, 98,

103-07.

      Intervenor Defendants, like State Defendants, rely in large part on Brnovich

to challenge Plaintiffs’ claims. They argue that the challenged provisions of SB

202 “impose nothing beyond the usual burdens of voting”; “Plaintiffs [improperly]

focus on how each provision of SB 202 burdens a particular method of voting,

without considering the [s]tate’s entire [voting] system”; and “Plaintiffs misstate

the strength of the state interests behind the challenged laws.” Intervenor Defs.’

Br. 12-14, ECF No. 53-1. Intervenor Defendants also contend that Plaintiffs have

failed to assert certain facts required by Brnovich, including “how widespread SB

202’s requirements (or similar ones) are in other [s]tates” and “the size (or any


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meaningful comparison) of any racially disparate impacts.” Intervenor Defs.’

Reply Br. 3, ECF No. 62.

      A violation of § 2 of the VRA

      is established if, based on the totality of circumstances, it is shown
      that the political processes leading to nomination or election in the
      [s]tate or political subdivision are not equally open to participation by
      members of a [protected] class . . . in that [they] have less opportunity
      than other members of the electorate to participate in the political
      process and to elect representatives of their choice.

52 U.S.C. § 10301(b). To evaluate a results claim under § 2 of the VRA, courts

have relied on the factors that the Supreme Court identified in Thornburg v.

Gingles, 478 U.S. 30, 36-37 (1986), such as the extent of any history of

discrimination affecting the right to vote, the scope of racially polarized voting and

the degree to which discrimination hinders the class’s ability to participate in the

voting process. 15

      However, the Supreme Court’s opinion in Brnovich called into question the

usefulness of some of the Gingles factors in evaluating a vote denial claim under §

2 of the VRA. 16 Brnovich, 141 S. Ct. at 2340. The Supreme Court identified other



15
   Not all factors will be pertinent or essential to all claims. See Nipper v. Smith,
39 F.3d 1494, 1526-27 (11th Cir. 1994).
16
   Gingles was a vote dilution case, wherein the plaintiff claimed that legislative
districting plans diluted the ability of particular voters to affect the outcome of
elections. 478 U.S. at 47.

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relevant factors, but, as set forth above, it was careful to define those factors as

mere guideposts. See id. at 2336. These guideposts include the size and degree of

the burden on voting, the size of the disparities between the protected class and

other groups, the opportunities provided by a state’s voting system, etc. See id. at

2336, 2338-39. Because this list is neither exhaustive nor prescriptive, Brnovich

does not require Plaintiffs to plead any specific set of factors.

      Here, Plaintiffs’ allegations identified above correspond with Gingles factors

that may be relevant in this specific circumstance and ultimately weigh upon the

issue of whether the political process in Georgia is equally open to all voters.

Therefore, Plaintiffs have stated a plausible claim under § 2 of the VRA.

      While State and Intervenor Defendants’ arguments regarding the burden on

voters, Georgia’s voting system as a whole and Georgia’s underlying interests in

enacting SB 202 will likely be relevant to the analysis of Plaintiffs’ claims at a

later stage of this case, those contentions investigate the merits of the claims, and

their resolution requires an inquiry into facts not alleged in the Amended

Complaint. Therefore, they are not appropriate at the motion to dismiss stage.

      Further, as the Court explained above, the Brnovich factors are not

prescriptive. Therefore, contrary to Intervenor Defendants’ position, Plaintiffs are

not required to allege those factors or otherwise provide detailed facts regarding


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them. See id. at 2336; Fed. R. Civ. P. 8(a)(2) (requiring a plaintiff to provide only

“a short and plain statement of the claim showing that the pleader is entitled to

relief”).

       For all these reasons, the Court declines to dismiss Count II of the Amended

Complaint.

                    3.     Count III (undue burden on the right to vote under
                           the First and Fourteenth Amendments)

       Plaintiffs allege that the individual provisions of SB 202, as well as their

collective effect, impose “substantial burdens on Georgia’s voters” and, “in some

cases[,] cause voters to risk being completely disenfranchised.” Am. Compl. ¶¶

209-10, ECF No. 35. They explain that SB 202 makes it more difficult for certain

groups of voters to vote, including by changing the process for requesting and

voting absentee ballots and increasing the probability that such ballots will be

rejected, see, e.g., id. ¶¶ 134, 140; limiting the availability of alternative voting

options, such as early in-person voting, see, e.g., id. ¶¶ 147-52; and changing the

rules for accepting out-of-precinct votes, see, e.g., id. ¶¶ 159-61. Plaintiffs further

allege that “[n]o legitimate state interest justifies [SB 202’s] significant restrictions

and burdens” and that the state’s “purported goals of increasing confidence in

elections or encouraging uniformity are pretextual at best.” Id. ¶¶ 211-13.




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      State Defendants argue, among other things, that “Plaintiffs have not

pleaded any burden under [the] Anderson/Burdick [framework for evaluating

voting rights claims] because Georgia has numerous options for voters to cast their

ballots and request absentee ballots,” and the state’s interest underlying the

challenged provisions “more than outweighs any burden” the provisions impose on

voters. State Defs.’ Br. 14, ECF No. 42-1.

      Intervenor Defendants additionally argue that because “[m]ost of the

challenged provisions of SB 202 regulate only absentee voting,” “the right to vote

is not at stake here.” Intervenor Defs.’ Br. 3, ECF No. 53-1 (internal punctuation

omitted). They also argue that “[t]he only burdens that Plaintiffs assert are legally

irrelevant because they are special burden[s] on some voters, not categorical

burdens on all voters.” Id. at 6.

      In resolving an undue burden on voting claim, a court must: (i) “consider

the character and magnitude of the asserted injury to the rights protected by the

First and Fourteenth Amendments that the plaintiff seeks to vindicate”; (ii)

“identify and evaluate the precise interests put forward by the [s]tate as

justifications for the burden imposed by its rule”; (iii) “determine the legitimacy

and strength of each of those interests”; and (iv) “consider the extent to which

those interests make it necessary to burden the plaintiff’s rights.” Anderson v.


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Celebrezze, 460 U.S. 780, 789 (1983). The analysis is not a “litmus-paper test”

and instead requires a “‘flexible’” approach. Common Cause/Georgia v. Billups,

554 F.3d 1340, 1352 (11th Cir. 2009) (citation omitted). If a court finds that a

plaintiff’s voting rights “are subjected to severe restrictions, the [respective]

regulation must be narrowly drawn to advance a state interest of compelling

importance. But when [the law] imposes only reasonable, nondiscriminatory

restrictions . . . , the [s]tate’s important regulatory interests are generally sufficient

to justify the restrictions.” Burdick v. Takushi, 504 U.S. 428, 434 (1992) (internal

punctuation and citation omitted).

       Here, the Amended Complaint contains detailed allegations of burdens that

Plaintiffs assert the challenged provisions will impose on Georgia voters.

Plaintiffs also maintain that there are no legitimate state interests that would

support such burdens. Anderson and Burdick do not require more from Plaintiffs

at the motion to dismiss stage. Because State and Intervenor Defendants’ weighing

of the alleged burden on voters relies on facts not asserted in the Amended

Complaint, such analysis is not appropriate at this time.

       The Court also declines, as Intervenor Defendants suggest, to forego the

undue burden analysis the Supreme Court developed in Anderson and Burdick and

summarily dispose of Plaintiffs’ voting rights claims. The Court does not read


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McDonald v. Board of Election Commissioners, 394 U.S. 802, 807-08 (1969),

which states that there is no right to an absentee ballot, to require such an outcome.

As discussed above, the Anderson-Burdick framework requires the Court to

evaluate the type of burden imposed by the challenged provisions and apply the

corresponding level of review. “Only after weighing [the designated] factors is the

reviewing court in a position to decide whether the challenged provision is

unconstitutional.” Anderson, 460 U.S. at 789.

      For all these reasons, the Court declines to dismiss Count III of the

Amended Complaint.

                    4.    Count IV (freedom of speech and association under
                          the First and Fourteenth Amendments)

      Plaintiffs allege that SB 202 restricts and chills their core political speech by

preventing them from “encouraging” citizens to vote “through the distribution of

absentee ballot applications.” Am. Compl. ¶¶ 219-20, ECF No. 35. Specifically,

the Amended Complaint alleges that SB 202 prohibits organizations from sending

out unsolicited absentee ballot applications to voters and places organizations at

risk of incurring “hefty criminal sanctions” or fines if they “attempt to help voters

request absentee ballots” or send an absentee ballot application to a voter who has

already requested or voted an absentee ballot. Id. ¶¶ 142-43. Plaintiffs also assert

that SB 202 “compel[s] them to include a confusing disclosure” on the absentee


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ballot application forms that they provide to voters that “stat[es] that the form was

not sent by a government entity.” Id. ¶ 144.

      State Defendants argue that Plaintiffs’ First Amendment claims should be

dismissed because distributing ballot applications to voters is not expressive

conduct that implicates speech. Intervenor Defendants do not address this count of

the Amended Complaint.

      The First Amendment prohibits the enactment of laws that abridge the

freedom of speech. See U.S. Const. amend. I. Therefore, governments generally

“ha[ve] no power to restrict expression because of its message, its ideas, its subject

matter, or its content.” Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015) (quoting

Police Dep’t of Chi. v. Mosley, 408 U.S. 92, 95 (1972)).

      Regulation of speech based on the topic discussed or the idea or message

expressed is presumptively unconstitutional and may be justified only if the

government proves that the regulation is narrowly tailored to serve compelling

state interests. See id. at 165 (stating that “[a] law that is content based on its face

is subject to strict scrutiny regardless of the government’s benign motive, content-

neutral justification, or lack of ‘animus toward the ideas contained’ in the regulated

speech” (quoting Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 429

(1993))). In the context of a political campaign, the Supreme Court in McIntyre v.


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Ohio Elections Commission found that an Ohio statute improperly regulated

speech where it required that publications intended to influence voters bear certain

source identification information. 514 U.S. 334, 345-46 (1995).

      In light of Plaintiffs’ allegations that the challenged provisions limit

organizations’ ability to convey their message through absentee ballots and force

them to include certain language on the absentee ballot applications that they do

distribute, the Court finds that Plaintiffs have stated a plausible claim that the

challenged provisions regulate or chill core political speech or expression.

      The Court is not aware of any authority in this Circuit holding, as State

Defendants contend, that distributing absentee ballots per se cannot be considered

expressive conduct under the First Amendment. Lichtenstein v. Hargett, 489 F.

Supp. 3d 742 (M.D. Tenn. 2020)—the only case in State Defendants’ brief that

touches on this question—is out-of-Circuit, inapposite and does not go as far as

State Defendants argue.

      As an initial matter, that case was decided on a motion for preliminary

injunction, which requires a court to look beyond the allegations in the complaint

and evaluate whether the plaintiff has shown a likelihood of success on the merits

of the claim. That type of inquiry into the merits of Plaintiffs’ allegations is

neither required nor proper at this stage of the litigation.


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      Moreover, the Lichtenstein court did not declare a per se rule that would be

applicable in all circumstances. The court acknowledged that “whether [the]

distribution [of absentee ballots] actually is speech in a particular situation depends

on what is being distributed, why it is being distributed, and how such distribution

would reasonably be perceived.” Id. at 766-67. Then the court “place[d] itself in

the position of a hypothetical intended recipient” and tried “to objectively gauge

whether there is a great likelihood that such a person would understand the

message” the absentee ballot distributors intended to convey. Id. at 767. Noting

that the issue was “fairly close,” the court concluded that “an intended recipient

would understand the distribution to him or her as merely a means to carry out

[the] otherwise-conveyed message” of encouragement to vote. Id. As such, even

if the Court were to consider the Lichtenstein opinion as persuasive authority, it is

not a basis upon which to dismiss Plaintiffs’ claims in this case.

      For these reasons, the Court declines to dismiss Count IV of the Amended

Complaint.

                    5.    Count V (freedom of expressive conduct under the
                          First and Fourteenth Amendments)

      Plaintiffs allege that SB 202 prohibits them from providing water or snacks

“within 25 feet of any voter standing in line to vote at any polling place, thereby

restricting line warming expression for hundreds of feet outside of the entrances to


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polling places.” 17 Am. Compl. ¶ 166, ECF No. 35. They claim that this provision

“chill[s] protected expressive conduct and speech that supports . . . the act of

voting.” Id. ¶ 225. Plaintiffs further assert that the restriction is content-based and

that it applies in a public forum without the requisite compelling government

interest. See id. ¶ 228.

      State Defendants counter that because a polling area is restricted,

government-controlled property set aside for the purpose of voting, the much lower

reasonableness standard applies to any regulation of speech or expression therein.

State Defs.’ Br. 24, ECF No. 42-1. They conclude that under that lower standard,

SB 202’s restrictions pass muster because they are reasonable in light of the state’s

“regulatory interests.” Id.

      Intervenor Defendants make a similar argument and additionally contend

that the First Amendment is not implicated because line warming “is conduct, not

speech.” Intervenor Defs.’ Br. 18, ECF No. 53-1. They therefore assert that while

the challenged provision will impose an “incidental” burden on speech, the statute

should not be analyzed as one regulating speech. Id.




17
  “Line warming” refers to the provision of refreshments, such as food and drinks,
to voters standing in line to vote at a polling place. See Am. Compl. ¶ 166, ECF
No. 35.

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       Taking as true Plaintiffs’ allegations that SB 202 establishes what type of

conduct and communication is permissible while engaging with voters who are

waiting in line and construing those allegations in the light most favorable to

Plaintiffs, the Court finds that Plaintiffs have plausibly alleged that SB 202’s

restrictions on line warming impinge on speech and/or expressive conduct in some

way.

       State Defendants do not provide support for their contention that any voting

line would presumptively occur in a non-public forum, where a lower standard of

review would apply. Nor do Intervenor Defendants cite any authority for the

proposition that line warming per se cannot be considered expressive conduct

under the First Amendment. Indeed, Intervenor Defendants concede that line

warming could impose some burden on speech.

       In any event, answering the questions of whether line warming occurs in a

public versus a nonpublic forum; whether the associated speech or conduct is of

the type protected by the First Amendment; what standard of review should apply;

and whether the state has identified interests sufficient to meet the requisite

standard requires the type of substantive merits inquiry that is not appropriate on a

motion to dismiss.




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      For all these reasons, the Court declines to dismiss Count V of the Amended

Complaint.

                    6.     Count VI (immaterial voting requirement under 52
                           U.S.C. § 10101(a)(2)(B))

      Plaintiffs allege that the provisions of SB 202 requiring voters to provide

their date of birth with their absentee ballot applications and their voted absentee

ballots violate 52 U.S.C. § 10101(a)(2)(B) because they “require[] county election

officials to reject absentee ballot applications and [voted] absentee ballots based on

a failure to provide exactly matching information . . . that is not material to

determining whether individuals are qualified to vote.” Am. Compl. ¶ 237, ECF

No. 35.

      State Defendants respond that a voter’s date of birth could be material in the

context of absentee ballot voting and that regardless, the provisions do not violate

§ 10101(a)(2)(B) because they require notice to the voter and an opportunity to

cure the defect before an absentee ballot can be rejected. See State Defs.’ Br. 13,

ECF No. 42-1. Intervenor Defendants do not address this count of the Amended

Complaint.

      Under § 10101(a)(2)(B),

      [n]o person acting under color of law shall . . . deny the right of any
      individual to vote in any election because of an error or omission on
      any record or paper relating to any application, registration, or other


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      act requisite to voting, if such error or omission is not material in
      determining whether such individual is qualified under [s]tate law to
      vote in such election.

Plaintiffs have alleged that date of birth information is not necessary to determine

whether a person is qualified to vote, yet SB 202 requires county officials to reject

absentee ballot applications and voted ballots of voters who make errors in

providing such information. As such, the Court finds that Plaintiffs have stated a

plausible claim for relief under § 10101(a)(2)(B).

      State Defendants have not provided any support for their argument that the

opportunity to cure an error rehabilitates any potential violation of §

10101(a)(2)(B), and the statute is silent on this point. This argument would also

require the Court to incorrectly address the merits of Plaintiffs’ allegations at the

motion to dismiss stage.

      For these reasons, the Court declines to dismiss Count VI of the Amended

Complaint.

      III.   CONCLUSION

      Based on the foregoing analysis, the Court DENIES Defendants’ motions to

dismiss (ECF Nos. 42, 52, 53).

      SO ORDERED this 9th day of December, 2021.




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